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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION


       UNITED STATES OF AMERICA

       vs.                                                 CASE NO. 6:98-CR-99-ORL-19KRS

       JAN SCHNEIDERMAN


                                                ORDER

              This case was considered by the Court on the Government's Motion for Reduction

       in Sentence Pursuant to Fed. R. Crim. P. 35(b) (Doc. No. 2126, filed December 5, 2008),

       Order of the Court (Doc. No. 2127, filed December 8, 2008), and Defendant Jan

       Schneiderman’s Memorandum in Response to the Government’s Motion for Reduction of

       Sentence (Doc. No. 2130, filed December 29, 2008). The Court held a hearing on the

       Motion for Reduction in Sentence (Doc. No. 2126) on April 24, 2009 which was attended

       in person by counsel for the Government and counsel for Ms. Schneiderman, and Defendant

       Jan Schneiderman who by consent attended by video conference.

              Upon consideration:

              The Government requests in its motion a four-level departure based on the

       cooperation of Defendant Schneiderman since her sentencing, stating specifically that

       Defendant Schneiderman entered into a written proffer agreement with the Government to

       provide information, including but not limited to, information regarding the whereabouts of

       her co-defendant Sholam Weiss, regarding individuals in Brazil who might be associating

       with Weiss while he was a fugitive in that country, and the location of Weiss when he was

       captured in Austria in 2000.
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              Since her conviction, Defendant Schneiderman also spent considerable time with the

       United States and counsel for Donna Lee Williams, Delaware Insurance Commissioner and

       Statutory Receiver’s counsel helping them trace Weiss’ criminal proceeds, which has aided

       both forfeiture litigation and civil litigation brought by the Receiver to recover funds

       secreted by Weiss and his associates. Defendant Schneiderman has provided the Receiver’s

       attorneys and financial experts with access to all available source information allowing them

       to trace all proceeds stolen from National Heritage Life Insurance Company, of which she

       was aware, which were diverted through her accounts. Further, Jan Schneiderman instructed

       her family members to cooperate with the Receiver.

              Ms. Schneiderman provided credible testimony in an ancillary proceeding involving

       the Stonewell Corporation and the Center Point Mall Mortgage.             Based in part on

       Schneiderman’s testimony, the United States obtained a Final Order of Forfeiture for the

       approximately $2.2 million in proceeds from the sale of the Center Point Mall Mortgage,

       which funds were found to be the property of Weiss, not Richard Gladstone or the Stonewell

       Corporation.

              Defendant Scheiderman has also provided substantial assistance to the Receiver in

       the matters of Williams, et al. v. Lyle K. Pfeffer, Isaac Nussen, Ghidale Weisz a/k/a George

       Weisz, Jarnow Corp., Shilaat Corp., United Ventures Group, Inc., Ados Equities and Jasper

       Properties Corp., Williams v. Congregation Yetev Lev, et al., Williams v. Goldy Feig, et al.,

       and Williams v. Congregation Yetev Lev, et al. Schneiderman is prepared to testify at trial

       in the future with reference to any pending litigation.

              She has also provided substantial assistance to the Northern District of Ohio in

       connection with a drug trafficking and money laundering investigation. The information
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       provided by Ms. Schneiderman was instrumental in the Northern District of Ohio’s opening

       of an investigation into previously unknown co-conspirators. Those targets have now been

       successfully prosecuted.

              At the hearing the assistance of Defendant was further delineated for the Court by

       counsel and by Defendant.

              The Court finds that Defendant has provided substantial assistance to the

       Government. The Government's Motion for Reduction in Sentence (Doc. No. 2126) is

       GRANTED as follows:

              1.     Defendant's Advisory Guideline Range is REDUCED 6 LEVELS to Total

       Offense Level 34, Criminal History Category I (151 to 188 months).

              2.     The Judgment in a Criminal Case (Doc. No. 1401, filed March 29, 2000) is

       AMENDED to provide:

                     a.      The defendant is hereby committed to the custody of the United
                             States Bureau of Prisons to be imprisoned for a term of 156 months
                             as follows:

                             156 months on Counts 1 and 2; 54 months on Counts 40, 64, 66-71,
                             81, 82 and 83 to be served concurrent to each other and to Counts 1
                             and 2; and 40 months on Counts 14, 15, 26, 30, 31, 37-39, 72-80, 84
                             and 85 to be served concurrent to each other and concurrent to all
                             other Counts for a total termof imprisonment of 156 months.

              In all other respects, the Judgment in a Criminal Case (Doc. No. 1401) remains in full

       force and effect and is otherwise unamended.

              3.     The Court has considered the factors enumerated in 18 United States Code

       Section 3553 and the applicable guidelines and policy statements issued by the U.S.

       Sentencing Commission in imposing this sentence.

              4.     Defendant is advised of her right to appeal. To the extent permitted by law
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       and any Plea Agreement, Defendant has a right to file an appeal of this Order within ten

       (10) days from its filing with the Clerk of Court. Failure to timely file a Notice of Appeal

       will result in waiver of the right to appeal. The Government may file an appeal from this

       Order. Defendant is entitled to the assistance of counsel if an appeal is filed, and if she

       cannot afford an attorney the Court will appoint one to represent her on the appeal at no

       charge or cost to Defendant.

              DONE AND ORDERED at Orlando, Florida, this              24th     day of April, 2009.




       Copies to:
       Assistant United States Attorney
       Attorney for Defendant
       United States Marshal
       United States Probation
       United States Pretrial Services
       Defendant
